                     Case 1:22-mj-00127-JSA Document 6 Filed 02/10/22 Page 1 of 3
AO 199A      (Rev. 6/97) Order S_etting Conditions of Rel ease                                                              Page I of._ _...._Pages

                                                                                                                                FILED IN OPEN COURT
                                                                                                                                   U.S.0.C. - Atlanta

                                                                                                                                   FEB 1 0 2022
                                       UNITED STATES DISTRlCT COURT
                                                                                                                                  Kevin P. Weim~er
                                                                                                                                              Clerk
                                                                                                                                  By
                                                                                                                                       Deputy Cle
                    NORTHERN                                     District of                              GEORGIA


              United States of America
                                                                                  ORDER SETTING CONDITIONS
                             V.                                                          OF RELEASE
                 Jake Maxwell
                                                                        Case Number: l:22-MJ-1 27
                         Defendant



IT IS ORDERED that the release of the defendant is subject to the following conditions:

(I)          The defendant shall not commit any offense in violation of federal , state or local law while on release in this case.

(2)          The defendant shall immediately advise the court, defense counsel and the U.S. attorney in writing before any change in
             address and telephone number.

(3)          The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as

             directed. The defe ndant shall appear at (if blank, to be notified)
                                                                                                                    Place
            'oeC-u<Q..,    3 u.d ,Je._ \-"\ ev\ WQ, ct~ ____·k_ (o_._,_l .....;_2_0_2-_2.
                                                                                       _"'""'
                                                                                           ~;;.._\_-.o_o__,_
                                                                                           1              plY'--
                                                                                                             _ _ _ __
                                                                                                   Date and Time




                                         Release on Personal Recognizance or Unsecured Bond

IT IS FURTHER ORDERED that the defendant be released provided that:

D      (4) The defendant prq'mises to appear at all proceedings as required and to surrender for service of any sentence imposed.

a:Y<s)     The defendant executes an unsecured bond binding the defendant to pay the United States the sumc3
                                                                                                                0
               ---ren : ty\<5'\.     l.S(Ll"-d                                                       doll ars ($~qPnthe event ofa
            failure to appear _as required or to surrender as directed for service of any sentence imposed.




                 DISTRIB UT ION :     COURT         DEF ENDANT   PRETR IAL     SER VICES       U.S. ATTORNEY       U.S . MARSHAL
                              Case 1:22-mj-00127-JSA Document 6 Filed 02/10/22 Page 2 of 3
    AO 1998                                                                                                                              Page_ _=2__of ~3_ _ _ Pages

                                                            ADDITIONAL CONDITIONS OF RELEASE
         Upon finding that release by one.of the above methods will not by itselfreasonably assure the defendant's appearance and the safety of other persons or the community,
IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:
  D (7) The defendant is placed in the custody of:
              Person or organization - ~ - - - - -
              Address (only if above is an organization) _ _ _ _ __
              City and state                 '                                                                    Tel. No. (only if above is an organization) _ _ _ _ _ _ __
who agrees (a) to supe rvise the defendant -in accordance with all of the conditions of release, (b) to use every effort to assure the defendant's appearance at all scheduled court
proceedings, an d (c) to noti fy the court immediately if the defendant vio lates any condition of release or disappears.
      /                                        ·                                   Signed
   c1' (8) The defendant must:                ·                                                              Custodian or Proxy                                      Date

         ~)      report to      ~     LS. Pretrial Svcs.;           D U.S. Probation Office; Suite. 900 U.S. Courthouse, 404-215-1900/1950
                    D before leaving the Courthouse;                     D within _ _ _ hours ofrelease from custody, or                              r( f ",...J-        V--,4~.,({l

                              D no later than:                                         Defendant shall fo llow all instructions of the supervising officer. 'o     'I p~ o \l"'(.-
         D (b) execute a bond or an agreement to forfeit upon fa iling to appear as required the fo llowing sum of money or designated property:            t"A-   $ J ~ ~ ~k..(
                                                                                                                                                               ~
         D (c) post with the court the follow ing proof of ownership of the designated property, or the following amount or percentage of the above-described

         D (d) execute a bail bond with s·olvent sureties in the am~unt of$_ _       ~      maintain or actively seek lawful, verifiable employment.
         D (P, maintain or commence an education pro~m.
         D'(y surrender any passport tot               13"' Pretrial Services      O Probation
         8'f1rnot obtain or possess a p·assport or other travel documents in your name, another name or on behalf of third persons, including minor children.
         p,(i) ab ide by the fo llowi ng restrictions on personal association, place of abode, or travel: Do not chan ge your address telephone number or place of
                   - - - - - - - - ~ - - - - - - - - - - - - - - - - - - - - - - employment without prior permission of your pretrial
                   services/probation supervisor.
               avoid all contact, directly ~r indirectly, with any person who is or may become a victim or potential witness in the investigation or
                   prosecution, includ ing but not limited to:
         D (k) undergo medical or psychiatric treatment:
         D (I) return to custody each (week) day at __ o'clock after being released each (week) day at __ o'clock for employment, schooling, or the following purpose(s):
         D (m) maintai n residence at a halfway house or com munity corrections center, as the pretrial services office or supervising officer considers necessary, and abide
            /       by the rules and regul:ations of said fac ility.
         0 (9, not possess a firearm, de ~tive dev ice, or other dangerous weapons or ammunition.
         ifc~efrain from             ( /2 any ( ) excessive use of alcohol.
         !:}(p) not use or unl awfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unl ess lawfully prescribed by a licensed
                    medi cal practitioner.
         D (q) submit to any testing requjred by the pretrial services office or the supervising officer to determine whether the defendant is using a prohibited substance. Any
                    testin g may be used with random frequency and include urine testing, the wearing ofa sweat patch, a remote alcohol testing system, and/or any form of prohibited
                    substance screening or testing. The defendant must refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy
                    of any prohibited substance testing or monitoring which is (are) required as a condit ion of release.
         D (r) parti cipate in a program of.inpatient or outpatient substance abuse therapy and counseling if the pretrial services office or supervising officer considers it
                    adv isable.
         D (s) participate in one of the follow ing location monitoring program components and ab ide by its requirements as the pretrial services officer or supervising
                    officer instructs.       ·
                     D (i) Curfew. Yo u are restri cted to your residence every day D from __ to_, or Das directed by the pretrial services office or supervising officer; or
                     D (ii) Home Dctcnti9n. You are restricted to yo ur residence at all times except for employment; education; religious services; medical, substance abuse, or
                     mental health treatmetit; attorney visits; court appearances; court-ordered obligations; or other activities pre-approved by the pretrial services office or
                    supervising officer; or"
                     □ ( iii ) Home Incarceration. You are restri cted to 24-hour-a-day lock-down except for medical necessities and court appearances or other activities
                    specifically approved by the court.
         D (t) submit to the location monitoring indicated below and abide by all of the program requirements and instructions provided by the pretrial services officer or
                    supervising officer related to the proper operation of the technology.
                     D The defendant must pay all or part of the cost of the program based upon your ability to pay as the pretrial services office or supervising officer
                     determines.
                     D (i) Location moni\oring technology as directed by the pretrial services office or supervising officer;
                     D (ii) Rad io Frequency (RF) monitoring;
                     D (iii) Passive Glob.al Positioning Satell ite (OPS) monitoring;
                     D (iv) Active Oloba!°Positioning Satellite (OPS) monitoring (i ncluding "hybrid" (Active/Passive) OPS);
                     D (v) Voice Recognition monitoring.

                    arrest, questioning or traffic stop.
                  not travel outsid e the N,orthern District of Georgia wit out prior permissi~n from_your supervising-~retrial/Probation officer. (
                                                                                                                                                           n
                  report within 72 hours to ·the pretrial services office or any supervision officer any contact with law enforcement personnel, including but not limited to any
                     Case 1:22-mj-00127-JSA Document 6 Filed 02/10/22 Page 3 of 3

AO 199C      (Rev.12/03) Advice   ofPenalties.                                                                 Page_ _~ _of _ _ _ Pages

                                                  Advice of Penalties and Sanctions

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

        A violation of any of the foregoing conditions ofrelease may result in the immediate issuance of a warrant for your arrest, a
revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment, a fine,
or both .                        ·
        The commission of a Federal offense while on pretrial release will result in an additional sentence of a term of imprisonm ent of
ofnot more than ten years, ifth_e offense is a felony; or a term of imprisonment of not more than one year, if the offense is a misdemeanor.
This sentence shall be in addition to any other sentence.
        Federal law makes it a crime punishable by up to 10 years of imprisonment, and a $250,000 fine or both to obstruct a criminal
investigation . It is a crime pun,ishable by up to ten years of imprisonment, and a $250,000 fine or both to tamper with a witness, victim
or informant; to retaliate or attempt to retaliate against a witness, victim or informant; or to intimidate or attempt to intimidate a witness,
victim , juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious if
they involve a killing or attempted killing.
       If after release, you knowingly fail to appear as required by the conditions ofrelease, or to surrender for the service of sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
        (I) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined
             not more than $250,000 or imprisoned for not more than 10 years, or both;
        (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
        (3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
        (4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both .
        A term of imprisonmen~ imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                    Acknowledgment of Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions ofrelease. I promise to obey all conditions
of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and sanctions set forth
above.


                                                                                                    Signature of Defendant


                                                                                                              Address

                                                                             Houu:;1 /3[<-<I\.C 0              &-A         IP7t! _g Z 2- /(.) l 1
                                                                                                          /
                                                                                   City and State                              Telephone


                                                 Directions to United States Marshal

~      e defendant is ORDERED released after processing.
□   The United States marshal .is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
     has posted bond and/or complied with all other conditions for release. The de dant shall be produced before the appropriate
     judge at the time and plac;e specified, if still in custody.

Date : _ _ _   ·-__
                 z- --_ l _o _-_:1--o
                                 _. _ -_l...-_1.---
                                              _ _ _ _ _ __


                                                                              JUSTIN S. ANAND, U. S. MAGISTRATE JUDGE
                                                                                         Name and Title of Judicial Officer

                    DISTRJBUTI.ON: COURT         DEFENDANT       PRETRIAL SERVICE        U.S. ATTORN EY        U.S . MARSHAL
